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                                             April 15, 2019

Honorable Charles B. Day
United States Magistrate Judge
U.S. District Court for the District of Maryland
6500 Cherrywood Lane
Greenbelt, Maryland 20770

          Re:       United States v. Christopher Hasson, Criminal Case No. 19-cr-0096-GJH

Dear Judge Day:

         I am writing on behalf of my client, Christopher Hasson, to respectfully request that Your
Honor schedule a further detention hearing in this matter. On February 21, 2019, an initial
detention hearing was held, at which the Court ordered Mr. Hasson detained. However, the Court
invited the defense to seek reconsideration of the order of detention in the event that the
government did not bring charges against Mr. Hasson pertaining to his alleged domestic terrorism
activities – which were the heart of the government’s case for detention – within 14 days.
Specifically, the Court stated:

          So my ruling comes with a caveat. The ruling is that I find that the Government has
          met its burden by clear and convincing evidence that Mr. Hasson is a danger. The
          caveat is that I am giving the Government 14 days in the absence of charging Mr.
          Hasson with any of the assorted criminal activity that they allude to and have argued
          here today about. I invite the Defense to come back, and at that time I very well
          may limit my consideration of these extra activities to whatever it is that the accused
          is facing by way of a trial in this court.

Transcript of 2/21/19 Hearing, at 27.

       Many more than 14 days have now passed, and the government has not charged Mr. Hasson
with any terrorism-related offense. An indictment was returned on February 27, 2019, charging
Mr. Hasson with the same two offenses that were initially charged by complaint (a firearms-
possession offense and a misdemeanor drug-possession offense), plus two additional firearms-
possession offenses. No other crimes have been charged. Moreover, during a recent status call,
government counsel advised the Court and defense counsel that it does not expect to file a
superseding indictment in this matter.
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        In light of these circumstances, the defense would like to accept the Court’s invitation to
return for a further hearing on the issue of pretrial detention. We respectfully request that the Court
schedule a hearing at the earliest agreeable date for all parties.

                                               Respectfully,

                                                       /s/

                                               Liz Oyer
                                               Assistant Federal Public Defender

EGO:sdf
cc: Thomas P. Windom, Esq.




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